                  Case 2:08-cr-00178-MCE Document 48 Filed 10/09/08 Page 1 of 3


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     Federal Defender
2    Lexi Negin, Bar #250376
     Assistant Federal Defender
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     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ABRAHAM BARRAGAN-ZEPEDA
6
7                                   IN THE UNITED STATES DISTRICT COURT
8                                FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                        )   CASE NO. CR-S-08-178 MCE
10                                                    )
                             Plaintiff,               )
11                                                    )   STIPULATION AND ORDER TO CONTINUE
             v.                                       )   STATUS HEARING AND TO EXCLUDE TIME
12                                                    )   PURSUANT TO THE SPEEDY TRIAL ACT
                                                      )
13   ABRAHAM BARRAGAN-ZEPEDA,                         )
     FERNARNDO BARRAGAN-ZEPEDA,                       )
14   RIGOBERTO GARFIAS-BARRAGAN,                      )
     DECIDERIA FRANCO,                                )
15
                       Defendants.
16   _______________________________
17          This case is currently scheduled for a status hearing on October 16, 2008. The attorneys for all
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for October 16, 2008, be continued until November 13, 2008. In addition, the parties
22   stipulate that the time period from October 16, 2008, to November 13, 2008, be excluded under the Speedy
23   Trial Act (18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need to provide defense counsel
24   with the reasonable time to prepare.
25          A proposed order is attached and lodged separately for the court's convenience.
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               Case 2:08-cr-00178-MCE Document 48 Filed 10/09/08 Page 2 of 3


1    DATED:October 8, 2008
2
                           Respectfully submitted,
3
     McGREGOR W. SCOTT                               DANIEL BRODERICK
4    United States Attorney                          Federal Defender
5
6    /s/ Lexi Negin for                              /s/ Lexi Negin
     MICHAEL BECKWITH                                LEXI NEGIN
7    Assistant U.S. Attorney                         Assistant Federal Defender
     Attorney for United States                      Attorney for Abraham Barragan-Zepeda
8
                                                     /s/ Lexi Negin for
9                                                    SHARI RUSK
                                                     Attorney at Law
10                                                   Attorney for Fernando Barragan-Zepeda
11                                                   /s/ Lexi Negin for
                                                     GIL A. ROQUE
12                                                   Attorney at Law
                                                     Attorney for Rigoberto Garfias-Barragan
13
                                                     /s/ Lexi Negin for
14                                                   LORIE J. TEICHERT
                                                     Attorney at Law
15                                                   Attorney for Decideria Franco
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                 Case 2:08-cr-00178-MCE Document 48 Filed 10/09/08 Page 3 of 3


1
2                                  IN THE UNITED STATES DISTRICT COURT
3                               FOR THE EASTERN DISTRICT OF CALIFORNIA
4
     UNITED STATES OF AMERICA,                       )    CASE NO. CR-S-08-178 MCE
5                                                    )
                           Plaintiff,                )
6                                                    )
            v.                                       )    ORDER CONTINUING STATUS HEARING
7                                                    )    AND EXCLUDING TIME PURSUANT TO THE
                                                     )    SPEEDY TRIAL ACT
8    ABRAHAM BARRAGAN-ZEPEDA,                        )
     FERNANDO BARRAGAN-ZEPEDA,                       )
9    RIGOBERTO GARFIAS-BARRAGAN,                     )
     DECIDERIA FRANCO,                               )
10
                       Defendants.
11   _______________________________
12
            For the reasons set forth in the stipulation of the parties, filed on October 8, 2008, IT IS HEREBY
13
     ORDERED that the status conference currently scheduled for October 16, 2008, be vacated and that the
14
     case be set for Thursday, November 13, 2008 at 9:00 a.m. The Court finds that the ends of justice to be
15
     served by granting a continuance outweigh the best interests of the public and the defendants in a speedy
16
     trial. Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ October 8, 2008
17
     stipulation, the time under the Speedy Trial Act is excluded from October 16, 2008, through November 13,
18
     2008, pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4, due to the need to provide defense
19
     counsel with the reasonable time to prepare.
20
21
22    Dated: October 8, 2008

23                                                       ________________________________
                                                         MORRISON C. ENGLAND, JR.
24                                                       UNITED STATES DISTRICT JUDGE
25
26
27
28                                                         2
